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                                                          STEVEN A. METCALF II, ESQ., Managing Attorney***
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                                                                  CIARA SANTIAGO, ESQ., Associate Attorney
                                                               CHRISTOPHER DARDEN, ESQ., Special Counsel*




Via ECF                                                                  December 21, 2023
Judge Dabney L. Friedrich
US District Court & Bankruptcy Courts for DC
333 Constitution Ave., N.W.
Washington, D.C. 20001

       Re: USA v Zachary Alam, 1:21-cr-00190-DLF

       Your Honor:

       This office represents Mr. Alam in the above-referenced matter. We are respectfully
requesting that this Honorable Court extend the sentencing date, and submission dates.

        Throughout the last couple of months there have been various scheduling issues causing
the PSR interview having not yet been conducted. For example, an interview was scheduled this
past Tuesday, December 19, 2023, and the jail failed to produce Mr. Alam. In light of not having
the interview conducted and the report completed, Pre Trail requested that the sentencing be
adjourned to a date no earlier than April 1, 2024.

        I reached out to AUSA Smith and explained the situation. Together we coordinated
different dates and times, and both agree April 8, 2024 is the best date for the parties. In
coordinating such date, we emailed your Honor’s Clerk, Mr. Hopkins, reflecting that position.

       I thank the Court in advance for its consideration and understanding on this request. I am
reachable anytime at 631.521.1499 to discuss this matter further. It is hereby respectfully
requested that sentencing be adjourned until April 8, 2024.




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                                                    Respectfully submitted,

                                                    /s/ Steven Alan Metcalf
                                                    _________________________
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